Case 1-18-40038-nhl   Doc 20   Filed 02/23/18   Entered 02/23/18 13:13:30
             Case 1-18-40038-nhl                           Doc 20            Filed 02/23/18                   Entered 02/23/18 13:13:30




In re 84 Elton LLC                                                                           Case No. 18-40038-NHL
      Debtor                                                                        Reporting Period: 1/3/18 - 1/31/18

                        SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

     Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
     or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
     ACTUAL” column must equal the sum of the fhree bank account columns. Attach copies of the bank statements and the cash disbursements journal.
     The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
     attached for each account. [See MOR-1 (CON’T)]

                                                                                                   BANK ACCOUNTS
                                                                  OPER                        TAX                      OTHER              CURRENT MONTH
                                                                                                                                         ACTUAL (TOTAL OF
                                                                                                                                           ALL ACCOUNTS)
     ACCOUNT NUMBER (LAST 4)

     CASH BEGINNING OF MONTH                                                                                                                                0

     RECEIPTS
     CASH SALES                                                                                                                                             0

     ACCOUNTS RECEIVABLE -                                                                                                                                  0

     PREPETITION
     ACCOUNTS RECEIVABLE -                                                                                                                                  0

     POSTPETITION
     LOANS AND ADVANCES                                                                                                                                     0

     SALE OF ASSETS                                                                                                                                         0

     OTHER (ATTACH LIST)                                                                                                                                    0

     TRANSFERS (FROM DIP ACCTS)                                                                                                                             0

       TOTAL RECEIPTS                                                                                                                                       0

     DISBURSEMENTS
     NET PAYROLL                                                                                                                                            0

     PAYROLL TAXES                                                                                                                                          0

     SALES, USE, & OTHER TAXES                                                                                                                              0

     INVENTORY PURCHASES                                                                                                                                    0

     SECURED/ RENTAL/ LEASES                                                                                                                                0

     INSURANCE                                                                                                                                              0

     ADMINISTRATIVE                                                                                                                                         0

     SELLING                                                                                                                                                0

     OTHER (ATTACH LIST)                                                                                                                                    0

     OWNER DRAW *                                                                                                                                           0

     TRANSFERS (TO DIP ACCTS)                                                                                                                               0

     PROFESSIONAL FEES                                                                                                                                      0

     U.S. TRUSTEE QUARTERLY FEES                                                                                                                            0

     COURT COSTS                                                                                                                                            0

     TOTAL DISBURSEMENTS                                                                                                                                    0



     NET CASH FLOW                                                                                                                                          0

     (RECEIPTS LESS DISBURSEMENTS)

     CASH – END OF MONTH                                                                                                                                    0

     * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE


                               THE FOLLOWING SECTION MUST BE COMPLETED
     DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

     TOTAL DISBURSEMENTS                                                                       0

       LESS: TRANSFERS TO OTHER DEBTOR IN                                                      0

     POSSESSION ACCOUNTS
       PLUS: ESTATE DISBURSEMENTS MADE BY                                                      0

     OUTSIDE SOURCES (i.e. from escrow accounts)



                                                                                                                                                                FORM MOR-1 (RE)
                                                                                                                                                                         2/2008
                                                                                                                                                                   PAGE 2 OF 13
         Case 1-18-40038-nhl         Doc 20     Filed 02/23/18     Entered 02/23/18 13:13:30




In re 84 Elton LLC                                       Case No. 18-40038-NHL
      Debtor                                   Reporting Period: 1/3/18 - 1/31/18
      TOTAL DISBURSEMENTS FOR CALCULATING U.S.         0

      TRUSTEE QUARTERLY FEES




                                                                                               FORM MOR-1 (RE)
                                                                                                        2/2008
                                                                                                  PAGE 3 OF 13
            Case 1-18-40038-nhl                     Doc 20           Filed 02/23/18               Entered 02/23/18 13:13:30




In re 84 Elton LLC                                                                    Case No. 18-40038-NHL
      Debtor                                                                 Reporting Period: 1/3/18 - 1/31/18

                                           BANK RECONCILIATIONS
     Continuation Sheet for MOR-1
     A bank reconciliation must be included for each bank account. The debtor's bank reconciliation may be substituted
     for this page.
     (Bank account numbers may be redacted to last four numbers.)

                                                    Operating                       Tax                        Other
                                            #                            #                          #
     BALANCE PER BOOKS                                                                                                   0


     BANK BALANCE                                                                                                        0
     (+) DEPOSITS IN TRANSIT                                                                                             0
     (ATTACH LIST)
     (-) OUTSTANDING                                                                                                     0
     CHECKS (ATTACH LIST) :
     OTHER (ATTACH                                                                                                       0
     EXPLANATION)

     ADJUSTED BANK                                                                                                       0
     BALANCE *
     *"Adjusted Bank Balance" must equal "Balance per Books"

     DEPOSITS IN TRANSIT                                Date                        Date                      Amount
                                                                                                                         0
                                                                                                                         0
                                                                                                                         0
                                                                                                                         0
     CHECKS OUTSTANDING                                Ck. #                       Ck. #                      Amount
                                                                                                                         0
                                                                                                                         0
                                                                                                                         0
                                                                                                                         0
                                                                                                                         0
                                                                                                                         0
                                                                                                                         0
                                                                                                                         0
                                                                                                                         0
                                                                                                                         0
                                                                                                                         0
                                                                                                                         0
                                                                                                                         0

     OTHER




                                                                                                                             FORM MOR-1 (CONT)
                                                                                                                                         2/2008
                                                                                                                                  PAGE 4 OF 13
            Case 1-18-40038-nhl                            Doc 20     Filed 02/23/18               Entered 02/23/18 13:13:30




In re 84 Elton LLC                                                                                 Case No. 18-40038-NHL
      Debtor                                                                              Reporting Period: 1/3/18 - 1/31/18


                                          STATEMENT OF OPERATIONS (Income Statement)
     The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue
     when it is realized and expenses when they are incurred, regardless of when cash is actually received or paid.


     INCOME                                                                                       MONTH                 CUMULATIVE -FILING
                                                                                                                            TO DATE
     Rental Income                                                                                                    0                   0

     Additional Rental Income                                                                                         0                   0

     Common Area Maintenance Reimbursement                                                                            0                   0

     Total Income (attach MOR-5 (RE) Rent Roll)                                                                       0                   0

     OPERATING EXPENSES
     Advertising                                                                                                      0                   0

     Auto and Truck Expense                                                                                           0                   0

     Cleaning and Maintenance                                                                                         0                   0

     Commissions                                                                                                      0                   0

     Officer/Insider Compensation*                                                                                    0                   0

     Insurance                                                                                                        0                   0

     Management Fees/Bonuses                                                                                          0                   0

     Office Expense                                                                                                   0                   0

     Other Interest                                                                                                   0                   0

     Repairs                                                                                                          0                   0

     Supplies                                                                                                         0                   0

     Taxes - Real Estate                                                                                              0                   0

     Travel and Entertainment                                                                                         0                   0

     Utilities                                                                                                        0                   0

     Other (attach schedule)                                                                                          0                   0

     Total Operating Expenses Before Depreciation                                                                     0                   0

     Depreciation/Depletion/Amortization                                                                              0                   0

     Net Profit (Loss) Before Other Income & Expenses                                                                 0                   0

     OTHER INCOME AND EXPENSES
     Other Income (attach schedule)                                                                                   0                   0

     Interest Expense                                                                                                 0                   0

     Other Expense (attach schedule)                                                                                  0                   0

     Net Profit (Loss) Before Reorganization Items                                                                    0                   0

     REORGANIZATION ITEMS
     Professional Fees                                                                                                0                   0

     U. S. Trustee Quarterly Fees                                                                                     0                   0

     Interest Earned on Accumulated Cash from Chapter 11 (see                                                         0                   0

     continuation sheet)
     Gain (Loss) from Sale of Property                                                                                0                   0

     Other Reorganization Expenses (attach schedule)                                                                  0                   0

     Total Reorganization Expenses                                                                                    0                   0

     Income Taxes                                                                                                     0                   0

     Net Profit (Loss)                                                                                                0                   0

     *"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                              FORM MOR-2 (RE)
                                                                                                                                                       2/2008
                                                                                                                                                 PAGE 5 OF 13
          Case 1-18-40038-nhl                 Doc 20         Filed 02/23/18           Entered 02/23/18 13:13:30




In re 84 Elton LLC                                                                      Case No. 18-40038-NHL
      Debtor                                                                   Reporting Period: 1/3/18 - 1/31/18
                                                                                                                    0

     BREAKDOWN OF “OTHER” CATEGORY

     OTHER OPERATIONAL EXPENSES
                                                                                                                    0




     OTHER INCOME
                                                                                                                    0



     OTHER EXPENSES
                                                                                                                    0



     OTHER REORGANIZATION EXPENSES
                                                                                                                    0




     Reorganization Items - Interest Earned on Accumulated Cash from Chapter 11:
     Interest earned on cash accumulated during the chapter 11 case, which would not have been earned but for the
     bankruptcy proceeding, should be reported as a reorganization item.




                                                                                                                        FORM MOR-2 (RE)
                                                                                                                                 2/2008
                                                                                                                           PAGE 6 OF 13
                      Case 1-18-40038-nhl                               Doc 20               Filed 02/23/18                      Entered 02/23/18 13:13:30



In re 84 Elton LLC                                                                              Case No.         18-40038-NHL
      Debtor                                                                           Reporting Period: 1/3/18 - 1/31/18

                                                                               BALANCE SHEET
     The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition obligations.

                                      ASSETS                                       BOOK VALUE AT END OF BOOK VALUE AT END OF BOOK VALUE ON PETITION
                                                                                    CURRENT REPORTING   PRIOR REPORTING MONTH  DATE OR SCHEDULED
                                                                                         MONTH
     CURRENT ASSETS
     Unrestricted Cash and Equivalents
     Restricted Cash and Cash Equivalents (see continuation
     sheet)
     Accounts Receivable (Net)
     Notes Receivable
     Prepaid Expenses
     Professional Retainers
     Other Current Assets (attach schedule)
     TOTAL CURRENT ASSETS                                                                                       0                               0                    0
     PROPERTY & EQUIPMENT
     Real Property and Improvements
     Machinery and Equipment
     Furniture, Fixtures and Office Equipment
     Leasehold Improvements
     Vehicles
     Less: Accumulated Depreciation
     TOTAL PROPERTY & EQUIPMENT                                                                                 0                               0                    0
     OTHER ASSETS
     Amounts due from Insiders*
     Other Assets (attach schedule)
     TOTAL OTHER ASSETS
     TOTAL ASSETS                                                                                               0                               0                    0

                      LIABILITIES AND OWNER EQUITY                                 BOOK VALUE AT END OF BOOK VALUE AT END OF BOOK VALUE ON PETITION
                                                                                    CURRENT REPORTING   PRIOR REPORTING MONTH        DATE
                                                                                         MONTH
     LIABILITIES NOT SUBJECT TO COMPROMISE (Postpetition)
     Accounts Payable
     Taxes Payable (refer to FORM MOR-4)
     Notes Payable
     Rent / Leases - Building/Equipment
     Secured Debt / Adequate Protection Payments
     Professional Fees
     Amounts Due to Insiders*
     Other Post-petition Liabilities (attach schedule)
     TOTAL POST-PETITION LIABILITIES                                                                            0                               0                    0
     LIABILITIES SUBJECT TO COMPROMISE (Pre-Petition)
     Secured Debt                                                                                     398692.66
     Priority Debt
     Unsecured Debt
     TOTAL PRE-PETITION LIABILITIES
     TOTAL LIABILITIES                                                                                          0                               0                    0
     OWNERS' EQUITY
     Owner's Equity Account                                                                           447905.41                        447905.41             447905.41
     Retained Earnings - Pre-Petition                                                                           0                               0                    0
     Retained Earnings - Post-petition                                                                          0                               0                    0
     Adjustments to Owner Equity (attach schedule)                                                              0                               0                    0
     Post-petition Contributions (attach schedule)                                                              0                               0                    0
     NET OWNERS’ EQUITY                                                                               447905.41                        447905.41             447905.41
     TOTAL LIABILITIES AND OWNERS' EQUITY                                                             846598.07                                 0                    0
     *"Insider" is defined in 11 U.S.C. Section 101(31).




                                                                                                                                                                         FORM MOR-3 (RE)
                                                                                                                                                                                  2/2008
                                                                                                                                                                            PAGE 7 OF 13
                      Case 1-18-40038-nhl                 Doc 20           Filed 02/23/18                Entered 02/23/18 13:13:30



In re 84 Elton LLC                                                             Case No.         18-40038-NHL
      Debtor                                                          Reporting Period: 1/3/18 - 1/31/18

     BALANCE SHEET - continuation section
                                       ASSETS                     BOOK VALUE AT END OF BOOK VALUE AT END OF        BOOK VALUE ON
                                                                   CURRENT REPORTING     PRIOR REPORTING           PETITION DATE
                                                                        MONTH                MONTH
     Other Current Assets




                                                                                                                                   0
     Other Assets




                                                                                                                                   0
                     LIABILITIES AND OWNER EQUITY                 BOOK VALUE AT END OF                             BOOK VALUE ON
                                                                   CURRENT REPORTING                               PETITION DATE
                                                                        MONTH
     Other Post-petition Liabilities




                                                                                                                                   0
     Adjustments to Owner’s Equity




     Post-Petition Contributions                                                                                                   0


                                                                                                                                   0


     Restricted Cash: Cash that is restricted for a specific use and not available to fund operations.
     Typically, restricted cash is segregated into a separate account, such as an escrow account.




                                                                                                                                       FORM MOR-3 (RE)
                                                                                                                                                2/2008
                                                                                                                                          PAGE 8 OF 13
                                         Case 1-18-40038-nhl                 Doc 20     Filed 02/23/18            Entered 02/23/18 13:13:30



In re 84 Elton LLC                                                                                    Case No. 18-40038-NHL
      Debtor                                                                                 Reporting Period: 1/3/18 - 1/31/18


                                        SUMMARY OF UNPAID POST-PETITION DEBTS


                                                                                        Number of Days Past Due
                                                          Current           0-30         31-60          61-90          Over 91      Total
     Mortgage                                                                                                              300000     3000000
     Rent
     Secured Debt/Adequate Protection
     Payments
     Professional Fees
     Real Estate Taxes
     Other Post-Petition debt (list creditor)




     Total Post-petition Debts                                                                                             300000      300000


     Explain how and when the Debtor intends to pay any past due post-petition debts.




                                                                                                                                                FORM MOR-4 (RE)
                                                                                                                                                         2/2008
                                                                                                                                                   PAGE 9 OF 13
                                     Case 1-18-40038-nhl             Doc 20       Filed 02/23/18         Entered 02/23/18 13:13:30




In re 84 Elton LLC                                                                                                        Case No. 18-40038-NHL
      Debtor                                                                                                     Reporting Period: 1/3/18 - 1/31/18

                                                                                RENT ROLL

     A rent roll must be included for each property. The debtor's rent roll may be substituted for this page. Attach additional sheets as needed.

     Property: 321 Pulaski Street, Brooklyn, NY 11206
     Square Footage:           2800

                                                                                                                                                                     Common
                                 Office     Warehouse      Total Sq.                  Lease        Lease        Lease               Monthly             Annual        Area
      Tenant         Unit #      Area         Area            Ft.    % of Bldg.       Type         Term         Start     Lease End  Rent                Rent         Maint.
     N/A




                                                                                                                          Totals                    0            0            0

                                                                                                                                                                     FORM MOR-5 (RE)
                                                                                                                                                                              2/2008
                                                                                                                                                                       PAGE 10 OF 13
             Case 1-18-40038-nhl                          Doc 20             Filed 02/23/18                  Entered 02/23/18 13:13:30




In re 84 Elton LLC                                                          Case No. 18-40038-NHL
      Debtor                                                       Reporting Period: 1/3/18 - 1/31/18


                                              PAYMENTS TO INSIDERS AND PROFESSIONALS

     Of the total disbursements shown on the Cash Receipts and Disbursements Report (MOR-1) list the amount paid to insiders (as defined in
     Section 101(31) (A)-(F) of the U.S. Bankruptcy Code) and to professionals. For payments to insiders, identify the type of compensation paid
     (e.g. Salary, Bonus, Commissions, Insurance, Housing Allowance, Travel, Car Allowance, Etc.). Attach additional sheets if necessary.


                                                       INSIDERS

                  NAME                   TYPE OF PAYMENT               AMOUNT PAID            TOTAL PAID TO DATE




                            TOTAL PAYMENTS TO INSIDERS                                    0                          0




                                                                            PROFESSIONALS

                                          DATE OF COURT
                                        ORDER AUTHORIZING                                                                                              TOTAL INCURRED &
                  NAME                      PAYMENT       AMOUNT APPROVED                         AMOUNT PAID            TOTAL PAID TO DATE                UNPAID*




                    TOTAL PAYMENTS TO PROFESSIONALS                                       0                          0                             0                    0
     * INCLUDE ALL FEES INCURRED, BOTH APPROVED AND UNAPPROVED



           POST-PETITION STATUS OF SECURED NOTES, LEASES PAYABLE
                    AND ADEQUATE PROTECTION PAYMENTS

                                           SCHEDULED
                                        MONTHLY PAYMENT                AMOUNT PAID            TOTAL UNPAID POST-
          NAME OF CREDITOR                    DUE                     DURING MONTH                PETITION
     Washington Equity                                 $6,000                             0                 $6,000




                                            TOTAL PAYMENTS                                0                 $6,000




                                                                                                                                                               FORM MOR-6 (RE)
                                                                                                                                                                        2/2008
                                                                                                                                                                 PAGE 11 OF 13
                           Case 1-18-40038-nhl                        Doc 20        Filed 02/23/18              Entered 02/23/18 13:13:30

In re 84 Elton LLC                                                                                                                Case No. 18-40038-NHL
      Debtor                                                                                                             Reporting Period: 1/3/18 - 1/31/18

                                           CASH FLOW PROJECTION FOR THE PERIOD 1/3/18 THROUGH 1/31/18

     A cash flow projection must be included for each property. The debtor's cash flow projection may be substituted for this page. Attach additional sheets as needed.
     This projection needs to be completed at the beginning of the case, every year, or when there are significant changes (i.e. tenant change, rent change, etc.)

     Property:             321 Pulaski Street, Brooklyn, NY 11206
     Square Footage:            2800

                            MONTH         MONTH         MONTH          MONTH      MONTH     MONTH         MONTH        MONTH       MONTH        MONTH        MONTH          MONTH

     INCOME
     Rental Income         January       February       March         April       May       June         July         August       Sep         October       November December
     Additional Rental
     Income
     Common Area
     Maintenance
     Reimbursement
     Total Income                    0              0           325           0         0          325            0            0         325             0             0        325
     OPERATING
     EXPENSES
     Advertising
     Auto and Truck
     Expense
     Cleaning and
     Maintenance
     Commissions
     Officer/Insider
     Compensation*
     Insurance
     Management
     Fees/Bonuses
     Office Expense
     Other Interest
     Repairs
     Supplies
     Taxes - Real Estate
     Travel and
     Entertainment
     Utilities
     Other (attach
     schedule)
     Total Expenses                  0

     Debt Service
     Professional Fees
     U.S. Trustee Fees                                          325                                325                                   325                                    325
     Court Costs

     Net Income                      0

     Tenant
     Improvements
     Vacancy Allowance

     Net Cash Flow                   0              0             0           0         0            0            0            0           0             0             0          0




                                                                                                                                                              FORM MOR-7 (RE)
                                                                                                                                                                       2/2008
                                                                                                                                                                PAGE 12 OF 13
           Case 1-18-40038-nhl             Doc 20       Filed 02/23/18          Entered 02/23/18 13:13:30




In re 84 Elton LLC                                                                       Case No. 18-40038-NHL
      Debtor                                                                    Reporting Period: 1/3/18 - 1/31/18



                                           DEBTOR QUESTIONNAIRE
       Must be completed each month. If the answer to any of the                      Yes                No
       questions is “Yes”, provide a detailed explanation of each item.
       Attach additional sheets if necessary.
       Have any assets been sold or transferred outside the normal course of                             x
   1   business this reporting period?
       Have any funds been disbursed from any account other than a debtor                                x
   2   in possession account this reporting period?
       Is the Debtor delinquent in the timely filing of any post-petition tax                            x
   3   returns?
       Are workers compensation, general liability or other necessary                                    x
   4   insurance coverages expired or cancelled, or has the debtor received
       notice of expiration or cancellation of such policies?
                                                                                                         x
   5 Is the Debtor delinquent in paying any insurance premium payment?
     Have any payments been made on pre-petition liabilities this reporting                               x
   6 period?
     Are any post petition receivables (accounts, notes or loans) due from                               x
   7 related parties?
   8 Are any post petition State or Federal income taxes past due?                                       x
   9 Are any post petition real estate taxes past due?                                x
  10 Are any other post petition taxes past due?
                                                                                                         x
  11 Have any pre-petition taxes been paid during this reporting period?
  12 Are any amounts owed to post petition creditors delinquent?                                         x
     Have any post petition loans been been received by the Debtor from                                  x
  13 any party?
  14 Is the Debtor delinquent in paying any U.S. Trustee fees?                                           x
     Is the Debtor delinquent with any court ordered payments to attorneys                               x
  15 or other professionals?
     Have the owners or shareholders received any compensation outside of                                x
  16 the normal course of business?




                                                                                                              FORM MOR-8 (RE)
                                                                                                                       2/2008
                                                                                                                PAGE 13 OF 13
Case 1-18-40038-nhl   Doc 20   Filed 02/23/18   Entered 02/23/18 13:13:30
Case 1-18-40038-nhl   Doc 20   Filed 02/23/18   Entered 02/23/18 13:13:30
Case 1-18-40038-nhl   Doc 20   Filed 02/23/18   Entered 02/23/18 13:13:30
Case 1-18-40038-nhl   Doc 20   Filed 02/23/18   Entered 02/23/18 13:13:30
